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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In Re:                                          §                 Case No. 23-90147-H2-7
                                                §
                                             1
          Mountain Express Oil Company, et al , §                 (Chapter 7)
                                                §
                Debtors.                        §                 Jointly Administered.


      TRUSTEE’S APPLICATION TO EMPLOY LORI LAPIN JONES PLLC AS FEE
                       CONSULTANT AND REVIEWER

          THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
          OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
          TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
          MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE
          AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
          YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED.
          IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
          FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
          AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
          OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY
          DECIDE THE MOTION AT THE HEARING.

          REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE EDUARDO V. RODRIGUEZ, UNITED STATES BANKRUPTCY JUDGE:

          The Application of Janet S. Northrup, Chapter 7 Trustee, Applicant herein, respectfully

represents:

          1.     The referenced Debtors commenced their Chapter 11 cases on March 18, 2023,

                 under the United States Bankruptcy Code, Case No. 23-90147-H2-11. On August

                 17, 2023, the United States Trustee appointed Janet S. Northrup as Chapter 11

                 Trustee.




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  A complete list of each of the Debtors in these Chapter 7 cases may be obtained on the Court’s website at
www.ecf.txsb.uscourts.gov. The location of Debtor Mountain Express Oil Company’s principal place of business and
the Debtors’ service address in these Chapter 7 cases is 3650 Mansell Road, Suite 250, Alpharetta, GA 30022.
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          2.    On August 24, 2023, the Court entered its Order (i) Converting the Chapter 11 cases;

                (ii) Rejecting all Unexpired Leases of Non-Residential Real Property, (iii)

                Terminating All Fuel Supply Contracts, and (iv) Granting Relief [docket no. 1397].

          3.    On August 24, 2023, The United States Trustee appointed Janet S. Northrup (the

                “Trustee”) to serve as Chapter 7 Trustee [docket no. 1398].

          4.    Applicant, as Trustee, wishes to employ Lori Lapin Jones PLLC (“Jones”), 98

                Cutter Mill Road, Suite 255, South, Great Neck, New York 11021, as Fee Reviewer

                and Consultant (“Fee Reviewer”) to review, analyze, and assess fee applications

                filed by professionals in the Chapter 11 cases, and to prepare reports to the Trustee

                and, if the Trustee requests, to prepare reports to the Chapter 11 professionals, and,

                if appropriate, to assist the Trustee in negotiating any reductions of such fees as more

                fully set forth in her Declaration attached hereto.

          5.    To date, millions of dollars in fee applications have been filed by professionals

                retained during the now-converted Chapter 11 cases. The applications comprise

                hundreds, if not thousands, of pages of descriptions of services rendered and details

                of fees and expenses charged. The Trustee would be remiss in the performance of

                her statutory duties to maximize recovery for these Chapter 7 estates if she did not

                review these fees and expenses for appropriateness, duplication of effort,

                compliance with applicable rules, case law, and guidelines, and ultimate benefit to

                the Debtors’ estates. She cannot do this alone. Jones is an experienced fee examiner

                and consultant and has been identified by the Trustee as the person who can most

                thoroughly and economically assist her in her statutory duties. The Trustee is aware

                that, as part of the Chapter 11 process, the Court approved certain “carve-outs” for


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                professional fees. However, none of the fee applications filed have been ruled on by

                the Court as “final” fee applications. The fees and expenses of the Chapter 11 case

                professionals must still be found to be “necessary and reasonable,” and the Court

                must be mindful that no plan was confirmed, and the case was converted to Chapter

                7. Thus, in her business judgment, the Trustee believes she is required to carefully

                review and analyze the Chapter 11 case professionals’ fee applications for necessity,

                reasonableness, and compliance, and to object where necessary. The Fee Reviewer’s

                assistance is necessary to perform these duties.

          6.    The proposed Fee Reviewer will be assisted by a database service provider which

                downloads the Chapter 11 case professionals’ time records into proprietary software

                that will then permit the Fee Reviewer to efficiently analyze the records. The Fee

                Reviewer may also be assisted by a legal assistant. Retaining the Fee Reviewer will

                greatly assist the Trustee in moving quickly to review and analyze the numerous fee

                applications and prepare any necessary objections thereto, if necessary. Where

                appropriate, the Fee Reviewer will also assist the Trustee in seeking voluntary

                reductions in professional fees through negotiations.

          7.    The Declaration of Disinterestedness of Lori Lapin Jones, Esq. is attached hereto as

                Exhibit “A”. The Declaration of Disinterestedness of Michael L. Newsom, the

                database service provider, is attached hereto as Exhibit “B”. Lori Lapin Jones PLLC

                and its database service provider shall be entitled to the rights and procedures set

                forth in the Interim Compensations Procedures Order [docket no.1607].




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          8.    For the reasons set forth herein, the Trustee respectfully requests the retention of the

                Fee Reviewer and Consultant, effective November 1, 2023, and that Applicant have

                such other and further relief as is just.

          DATE: November 27, 2023.



                                                    Respectfully submitted,

                                                      /s/ Janet S. Northrup
                                                    Janet S. Northrup, Trustee
                                                    TotalEnergies Tower
                                                    1201 Louisiana, 28th Floor
                                                    Houston, Texas 77002
                                                    (713) 590-4200 Telephone
                                                    (713) 590-4230 Facsimile
                                                    jsnorthrup@hwa.com

                                                    CHAPTER 7 TRUSTEE



                                    CERTIFICATE OF SERVICE

       I hereby certify that I served this Trustee’s Application to Employ Fee Reviewer and Consultant
was served to all parties entitled to received notification via CM/ECF and to all parties listed on the
“Service List” attached by U.S. Mail, First Class, postage prepaid on this the 27th day of November 2023.


                                                /s/ Janet Northrup
                                                Janet Northrup, Trustee




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